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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 Southern
 ____________________             Texas
                      District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                  q Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        02/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           ImPetro Resources, LLC
                                              __________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                2 ___
                                              ___ 7 – ___
                                                       1 ___
                                                          7 ___
                                                             6 ___
                                                                9 ___
                                                                   6 ___
                                                                      0 ___
                                                                         8
      Identification Number (EIN)


 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                               201 Main Street
                                              ______________________________________________             _______________________________________________
                                              Number     Street                                          Number     Street


                                              Suite 700
                                              ______________________________________________             _______________________________________________
                                                                                                         P.O. Box

                                              Fort Worth                       TX     76102
                                              ______________________________________________             _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                              Tarrant
                                              ______________________________________________
                                              County                                                     _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)                  https://www.lilisenergy.com/
                                              ____________________________________________________________________________________________________




Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
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Debtor        ImPetro Resources, LLC
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




 6.   Type of debtor                    q
                                        ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                        q Partnership (excluding LLP)
                                        q Other. Specify: __________________________________________________________________

                                        A. Check one:
 7.   Describe debtor’s business
                                        q Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        q Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        q Railroad (as defined in 11 U.S.C. § 101(44))
                                        q Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        q Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        q Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        q
                                        ✔ None of the above

                                        B. Check all that apply:

                                        q Tax-exempt entity (as described in 26 U.S.C. § 501)
                                        q Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                        q Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            2 ___
                                           ___    1 ___
                                               1 ___ 1

 8.   Under which chapter of the        Check one:
      Bankruptcy Code is the
      debtor filing?                    q Chapter 7
                                        q Chapter 9
                                        q
                                        ✔ Chapter 11. Check all that apply:
                                                      q Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                            insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                            4/01/22 and every 3 years after that).
                                                        q   The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                            debtor is a small business debtor, attach the most recent balance sheet, statement
                                                            of operations, cash-flow statement, and federal income tax return or if all of these
                                                            documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                        qThe debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                            chooses to proceed under Subchapter V of Chapter 11.

                                                        q   A plan is being filed with this petition.

                                                        q   Acceptances of the plan were solicited prepetition from one or more classes of
                                                            creditors, in accordance with 11 U.S.C. § 1126(b).

                                                        q   The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                            Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                            Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                            for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                        q   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                            12b-2.
                                        q Chapter 12
 9.   Were prior bankruptcy cases       q
                                        ✔ No
      filed by or against the debtor
      within the last 8 years?          q Yes.    District _______________________ When _______________ Case number _________________________
                                                                                        MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                              District _______________________ When _______________ Case number _________________________
                                                                                        MM / DD / YYYY


 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
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Debtor          ImPetro Resources, LLC
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



 10.   Are any bankruptcy cases           q No
       pending or being filed by a
       business partner or an             q
                                          ✔ Yes.           See Schedule 1
                                                    Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                              Southern District of Texas
                                                    District _____________________________________________ When                06/28/2020
                                                                                                                              __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                          q
                                          ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                          q
                                          ✔ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12.   Does the debtor own or have        q
                                          ✔ No.
       possession of any real             q Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                   q   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                                           See Schedule 2
                                                       What is the hazard? _____________________________________________________________________

                                                   q   It needs to be physically secured or protected from the weather.

                                                   q   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                   q   Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________         _______ ________________
                                                                             City                                             State ZIP Code


                                                   Is the property insured?
                                                   q   No
                                                   q   Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information



 13.   Debtor’s estimation of             Check one:
       available funds                    q Funds will be available for distribution to unsecured creditors.
                                          ✔
                                          q After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          q 1-49                           q 1,000-5,000                             q 25,001-50,000
 14.   Estimated number of                q 50-99                          q
                                                                           ✔ 5,001-10,000                            q 50,001-100,000
       creditors
                                          q 100-199                        q 10,001-25,000                           q More than 100,000
                                          q 200-999

 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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Debtor         ImPetro Resources, LLC
              _______________________________________________________                       Case number (if known)_____________________________________
              Name



                                         q $0-$50,000                       q $1,000,001-$10 million                  q $500,000,001-$1 billion
 15.   Estimated assets                  q $50,001-$100,000                 q $10,000,001-$50 million                 q $1,000,000,001-$10 billion
                                         q $100,001-$500,000                q $50,000,001-$100 million                q $10,000,000,001-$50 billion
                                         q $500,001-$1 million              q
                                                                            ✔ $100,000,001-$500 million               q More than $50 billion

                                         q $0-$50,000                       q $1,000,001-$10 million                  q $500,000,001-$1 billion
 16.   Estimated liabilities             q $50,001-$100,000                 q $10,000,001-$50 million                 q $1,000,000,001-$10 billion
                                         q $100,001-$500,000                q $50,000,001-$100 million                q $10,000,000,001-$50 billion
                                         q $500,001-$1 million              q
                                                                            ✔ $100,000,001-$500 million               q More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                             petition.
       debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                            Executed on _________________
                                                        MM / DD / YYYY


                                         û  _____________________________________________
                                            Signature of authorized representative of debtor
                                                                                                        Joseph C. Daches
                                                                                                       _______________________________________________
                                                                                                       Printed name

                                                   Chief Executive Officer, President, and
                                            Title _________________________________________           Chief Financial Officer



 18.   Signature of attorney
                                         û /s/ Harry A. Perrin
                                             _                          ________________________        Date         06/28/2020
                                                                                                                     _________________
                                             Signature of attorney for debtor                                        MM   / DD / YYYY



                                            Harry A. Perrin
                                            _________________________________________________________________________________________________
                                            Printed name
                                             Vinson & Elkins LLP
                                            _________________________________________________________________________________________________
                                            Firm name
                                            1001 Fannin Street, Suite 2500
                                            _________________________________________________________________________________________________
                                            Number      Street
                                            Houston
                                            ____________________________________________________          TX             77002
                                                                                                           ____________ ______________________________
                                            City                                                            State          ZIP Code

                                            (713) 758-2222
                                            ____________________________________                             hperrin@velaw.com
                                                                                                            __________________________________________
                                            Contact phone                                                   Email address



                                            15796800
                                            ______________________________________________________  TX
                                                                                                   ____________
                                            Bar number                                             State




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 4
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       Fill in this information to identify the case:

       Debtor Name: Impetro Resources, LLC

       United States Bankruptcy Court for the: Southern District of Texas

       Case number (if known): __________________________


Fill in this information to identify the case:
                                                                 Schedule 1

                            Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

                                                               Lilis Energy, Inc.
                                                            Brushy Resources, Inc.
                                                        IMPETRO OPERATING LLC
                                                        Lilis Operating Company, LLC
                                                          Hurricane Resources LLC
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 Fill in this information to identify the case and this filing:


                ImPetro Resources, LLC
 Debtor Name __________________________________________________________________
                                            Southern                           Texas
 United States Bankruptcy Court for the: ________________ District of ________________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                     12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         q    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         q    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         q    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         q    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         q    Schedule H: Codebtors (Official Form 206H)

         q    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

         q    Amended Schedule ____


         q    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         q
         X
         ✔    Other document that requires a declaration__Schedule 1: List of Affiliated Debtors       ______________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on ______________                         û   _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Joseph C. Daches
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Chief Executive Officer, President,
                                                                ______________________________________                and Chief Financial Officer
                                                                Position or relationship to debtor



Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors
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Fill in this information to identify the case:
Debtor Name: ImPetro Resources, LLC

United States Bankruptcy Court for the: Southern District of Texas

Case number (if known): __________________________



                                                          Schedule 2

                                                 Response to Question 12:

        The above-captioned debtor (the “Debtor”) and its affiliated debtors and affiliated non-debtors
        (collectively, the “Company”) engage in the exploration, development, and production of oil and
        natural gas. As disclosed in more detail in the Company’s most recent Form 10-K filed with the
        Securities and Exchange Commission, the oil and natural gas business involves a variety of
        operating risks, including the risk of fire, explosions, blow outs, hydrogen sulfide emissions or
        releases, pipe failures and, in some cases, abnormally high pressure formations, which could lead
        to environmental hazards such as oil spills, natural gas leaks and the discharge of toxic gases. The
        Company does not believe it owns or possesses any real or personal property that poses or is alleged
        to pose a threat of imminent and identifiable harm to the public health or safety. The Company
        notes that it is not aware of any definition of “imminent and identifiable harm” as used in this form.




                                                           Schedule 2
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 Fill in this information to identify the case and this filing:


                ImPetro Resources, LLC
 Debtor Name __________________________________________________________________
                                            Southern                           Texas
 United States Bankruptcy Court for the: ________________ District of ________________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                      12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         q    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         q    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         q    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         q    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         q    Schedule H: Codebtors (Official Form 206H)

         q    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

         q    Amended Schedule ____


         q    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         q
         ✔    Other document that requires a declaration__Schedule 2: Response to Question 12            _________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on ______________                         û   _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Joseph C. Daches
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Chief Executive Officer, President,
                                                                ______________________________________                and Chief Financial Officer
                                                                Position or relationship to debtor



Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                     Secretary’s Certificate

        The undersigned, being the Chief Executive Officer, President, and Chief Financial Officer
of Lilis Energy, Inc. and each of its wholly owned subsidiaries (collectively, the “Companies”),
does hereby certify, on behalf of the Companies and not in an individual capacity, as follows:

   1. I am the duly qualified and appointed Chief Executive Officer, President, and Chief
      Financial Officer of each of the Companies and, as such, am familiar with the facts herein
      certified, and I am duly authorized to certify the same on behalf of each of the Companies.

   2. Attached hereto as Annex A is a true, correct, and complete copy of the written consent
       adopted by the sole member of ImPetro Resources, LLC on June 28, 2020.
   3. The above referenced written consent has not been modified or rescinded, and are in full
      force and effects as of the date hereof.

                                    [Signature Page Follows]
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    IN WITNESS WHEREOF, the undersigned has executed and caused this certificate to be
delivered on behalf of the Companies as of the date first written above.

                                       Lilis Energy, Inc.

                                       By:     ____________________________________
                                       Name: Joseph C. Daches
                                       Title: Chief Executive Officer, President, and
                                              Chief Financial Officer




                                  Signature Page to
                                Secretary’s Certificate
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                           ANNEX A

                  WRITTEN CONSENT OF THE
         SOLE MEMBER OF IMPETRO RESOURCES, LLC
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                                   WRITTEN CONSENT OF
                                   THE SOLE MEMBER OF
                                 IMPETRO RESOURCES, LLC

                                            June 28, 2020

       The undersigned, being the sole member (the “Sole Member”) of ImPetro Resources, LLC,
a Delaware limited liability company (the “Company”), acting pursuant to the provisions of
Section 18-302(d) of the Delaware Limited Liability Company Act, hereby approves, consents to
and adopts the following recitals and resolutions and the actions therein authorized as the act of
the Sole Member by written consent:

       WHEREAS, the Board of Directors (the “Parent Board”) of Lilis Energy, Inc., a Nevada
corporation (the “Parent Company”), has studied and considered the financial condition of the
Parent Company and its subsidiaries (collectively, the “Parent Company Group”), including the
Parent Company Group’s liabilities, contractual obligations and liquidity, the short-term and long-
term prospects available to the Parent Company Group, the strategic alternatives available to the
Parent Company Group and the related circumstances and situation, including the current and
reasonably foreseeable future conditions in the oil and natural gas industry, the recent economic
downturn, commodity price environment and uncertainties caused by the COVID-19 pandemic;

        WHEREAS, the Parent Board, acting upon the recommendation of and through the
Special Committee of the Parent Board, has authorized the Parent Company and certain of its
subsidiaries (including the Company) to (i) execute that certain Restructuring Support Agreement
(such agreement, together with the Restructuring Term Sheet attached thereto, the “RSA,” and the
series of transactions described therein, the “Restructuring Transactions”) among (a) the Parent
Company, (b) the Sole Member, a wholly owned subsidiary of the Parent Company, the Company,
ImPetro Operating LLC, a Delaware limited liability company and wholly owned subsidiary of
the Company (“ImPetro Operating”), Lilis Operating Company, LLC, a Texas limited liability
company and wholly owned subsidiary of the Parent Company (“Lilis Operating”), and Hurricane
Resources LLC, a Texas limited liability company and wholly owned subsidiary of the Parent
Company (“Hurricane”) (collectively, the “Filing Subsidiaries” and, together with the Company,
the “Debtors”), (c) certain of the lenders under that certain Second Amended and Restated Senior
Secured Revolving Credit Agreement dated as of October 10, 2018 (as amended, restated,
supplemented, or otherwise modified from time to time, the “RBL Credit Agreement”), by and
among the Parent Company, as borrower, the Filing Subsidiaries, as guarantors, BMO Harris Bank
N.A., as administrative agent (the “RBL Agent”), the lenders party thereto (the “RBL Lenders,”
together with the RBL Agent and the other secured parties thereunder, the “RBL Secured Parties”)
and (d) certain private funds affiliated with Värde Partners, Inc. (together with its affiliates,
“Värde”) and (ii) file or cause to be filed a voluntary petition for relief (the “Chapter 11 Petition”)
pursuant to Chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the
Southern District of Texas, Houston Division, or another appropriate court (the “U.S. Bankruptcy
Court”), and any and all documents necessary or convenient to effect, cause or promote the
reorganization of the Debtors under Chapter 11 of the Bankruptcy Code, pursuant to the Plan and
in accordance with the RSA;




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        WHEREAS, the Sole Member, based on its review and consideration of the financial
condition of the Parent Company Group, including the Parent Company Group’s liabilities and
liquidity, the short-term and long-term prospects available to the Company Group, the strategic
alternatives available to the Parent Company Group and the related circumstances and situation,
including the current and reasonably foreseeable future conditions in the oil and natural gas
industry, has determined that it is advisable and in the best interests of the Company to, (i) enter
into the RSA and (ii) concurrently with the Parent Company, file or cause to be filed the Chapter
11 Petition with the U.S. Bankruptcy Court pursuant to Chapter 11 of the Bankruptcy Code;

        WHEREAS, as contemplated by the RSA, certain RBL Lenders (the “DIP Lenders”) have
agreed to provide post-petition financing (the “DIP Facility”) to the Parent Company under that
certain Senior Secured Super-Priority Debtor-in-Possession Credit Agreement (the “DIP Credit
Agreement,” and together with any related security agreements, fee letters, and other documents
required to be executed or delivered by or in connection with the DIP Credit Agreement (as may
be amended, restated, supplemented, or otherwise modified from time to time in accordance with
the terms thereof and the applicable orders of the court, collectively the “DIP Documents”), by
and among the Parent Company, as borrower, the Filing Subsidiaries, as guarantors, the RBL
Agent, as agent (in such capacity, the “DIP Agent”), and the lenders party thereto, as DIP Lenders;

        WHEREAS, the Debtors will obtain benefits from the use of collateral, including cash
collateral, as that term is defined in section 363(a) of the Bankruptcy Code (the “Cash Collateral”),
which is subject to the liens of the RBL Secured Parties;

         WHEREAS, the Company intends, concurrently with the Parent Company, to file or cause
to be filed with the U.S. Bankruptcy Court a voluntary petition for relief pursuant to Chapter 11 of
the Bankruptcy Code; and

        WHEREAS, after review of (i) the financial condition of the Company, the current and
reasonably foreseeable future conditions in the oil and natural gas industry, the outlook for the
Company’s business and the other alternatives available to the Company, (ii) the terms of the RSA
and related documentation, (iii) the availability of the DIP Facility and consensual use of the Cash
Collateral and (iv) such other considerations as the Sole Member deems relevant, the Sole
Member, following consultation with the financial and legal advisors to the Company, has
determined that it is advisable and in the best interests of the Company to enter into the RSA and
pursue the restructuring of the Debtors under the Bankruptcy Code as contemplated therein and as
approved in these resolutions.

Restructuring Support Agreement

       NOW, THEREFORE, BE IT RESOLVED, that the Sole Member hereby authorizes and
approves, in all respects, the Company’s entry into the RSA, together with any other agreements
or documentation relating thereto (collectively, the “Restructuring Support Documents”), and the
performance of the Company’s obligations thereunder;

        FURTHER RESOLVED, that the Sole Member hereby authorizes and empowers each of
the officers of the Company, including Joseph C. Daches and Christa Garrett (collectively, the
“Authorized Officers”) to take such actions and negotiate or cause to be prepared and negotiated
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and to execute, file, and deliver the Restructuring Support Documents, with such changes,
additions, and modifications thereto as the Authorized Officers executing the same shall approve,
such approval to be conclusively evidenced by any Authorized Officer’s execution or delivery
thereof, cause the Company to perform its obligations under the Restructuring Support Documents,
or any amendments or modifications thereto that may be contemplated by, or required in
connection with, the Restructuring Transactions or the Chapter 11 case pursuant to the Bankruptcy
Code (the “Chapter 11 Case”), and incur and pay or cause to be paid all fees and expenses and
engage such persons, in each case, as any Authorized Officer shall in his or her judgment determine
to be necessary or appropriate to consummate the Restructuring Transactions, which determination
shall be conclusively evidenced by such Authorized Officer’s execution or delivery thereof;

Chapter 11 Filing

        FURTHER RESOLVED, that the Sole Member hereby determines that it is advisable and
in the best interests of the Company to file a Chapter 11 Petition pursuant to Chapter 11 of the
Bankruptcy Code with the U.S. Bankruptcy Court;

       FURTHER RESOLVED, that the Sole Member hereby authorizes the Company to file
or cause to be filed a Chapter 11 Petition pursuant to Chapter 11 of the Bankruptcy Code with the
U.S. Bankruptcy Court;

        FURTHER RESOLVED, that the Sole Member hereby authorizes and empowers each
Authorized Officer, acting alone or with one or more other Authorized Officers, to execute, deliver,
and file or cause to be filed with the U.S. Bankruptcy Court on behalf of the Company, the Chapter
11 Petition, in such form as prescribed by the official forms promulgated pursuant to the
Bankruptcy Code;

       FURTHER RESOLVED, that the Sole Member hereby authorizes and empowers each
Authorized Officer to execute, deliver, and file or cause to be filed with the U.S. Bankruptcy Court,
on behalf of the Company, all papers, motions, applications, schedules, and pleadings necessary,
appropriate, or convenient to facilitate the Chapter 11 Case and all of its matters and proceedings,
and any and all other documents necessary, appropriate, or convenient in connection with the
commencement or prosecution of the Chapter 11 Case, each in such form or forms as the
Authorized Officer may approve on behalf of the Company;

        FURTHER RESOLVED, that the Sole Member hereby authorizes and empowers each
Authorized Officer to execute, deliver and file or cause to be filed with the U.S. Bankruptcy Court,
on behalf of the Company, all papers and pleadings that such Authorized Officers believe to be
necessary or desirable to effect, cause or further the reorganization of the Company under Chapter
11 of the Bankruptcy Code and any and all other documents, including a plan of reorganization
providing for the restructuring, reorganization or liquidation of the Company, and a disclosure
statement related thereto, together with any amendments or modifications thereto, or any
restatements thereof;

        FURTHER RESOLVED, that the Sole Member, acting on behalf of the Company in its
capacity as the sole member of ImPetro Operating, hereby authorizes ImPetro Operating to file or
cause to be filed with the U.S. Bankruptcy Court, a voluntary petition for relief pursuant to Chapter
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11 of the Bankruptcy Code, in accordance with the terms of the RSA and consistent with these
resolutions, and ImPetro Operating is hereby authorized and empowered to take such actions as
are necessary to accomplish the same consistent with these resolutions;

Debtor-in-Possession Financing, Cash Collateral and Adequate Protection

        FURTHER RESOLVED, that the Sole Member hereby determines that the Company will
obtain benefits from the loans and other financial accommodations provided under the DIP Facility
and the DIP Documents and the consummation of the Financing Transactions (as defined below)
provided under the DIP Facility and the DIP Documents, which are necessary and appropriate to
the conduct, promotion and attainment of the business of the Company;

        FURTHER RESOLVED, that the Sole Member hereby authorizes and approves, in all
respects, the Company’s entry into the DIP Credit Documents and the performance of its
obligations thereunder;

       FURTHER RESOLVED, that the Sole Member hereby authorizes and empowers each
Authorized Officer to take such actions and negotiate or cause to be prepared and negotiated and
to execute, file and deliver the DIP Documents, with such changes, additions and modifications
thereto as any Authorized Officer executing the same shall approve, such approval to be
conclusively evidenced by such Authorized Officer’s execution or delivery thereof, cause the
Company to perform its obligations under the DIP Documents, or any amendments or
modifications thereto that may be contemplated by, or required in connection with, the
Restructuring Transactions or the Chapter 11 Case, and incur and pay or cause to be paid all fees
and expenses and engage such persons, in each case, as any such Authorized Officer shall in his
or her judgment determine to be necessary or appropriate to consummate the Restructuring
Transactions, which determination shall be conclusively evidenced by such Authorized Officer’s
execution or delivery thereof;

        FURTHER RESOLVED, that the Sole Member hereby authorizes the Company to: (i)
undertake any and all transactions contemplated by the DIP Documents, on substantially the terms
and subject to the conditions set forth in the DIP Documents or as may hereafter be fixed or
authorized by the Sole Member or any Authorized Officer; (ii) borrow funds from, provide
guaranties to, pledge its assets as collateral to and undertake any and all related transactions
contemplated thereby (collectively, the “Financing Transactions” and each such transaction a
“Financing Transaction”) with the DIP Lenders and on such terms as may be approved by any
Authorized Officer, as reasonably necessary or appropriate for the continuing conduct of the affairs
of the Company; (iii) execute and deliver and cause the Company to incur and perform its
obligations under the DIP Documents and Financing Transactions; (iv) finalize the DIP
Documents and Financing Transactions, consistent in all material respects with the drafts thereof
that have been presented to and reviewed by the Sole Member; and (v) pay related fees and grant
security interests in and liens upon some, any or all of the Company’s assets, as may be deemed
necessary by any Authorized Officer in connection with such Financing Transactions;

       FURTHER RESOLVED, that the Sole Member hereby authorizes and empowers each
Authorized Officer to take such actions and negotiate or cause to be prepared and negotiated and
to execute, file, deliver and cause the Company to incur and perform its obligations under the DIP
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Documents, any hedging agreements, any secured cash management agreements, and all other
agreements, instruments and documents (including, without limitation, any and all other
intercreditor agreements, joinders, mortgages, deeds of trust, consents, notes, pledge agreements,
security agreements, control agreements, interest rate swaps, caps, collars or similar hedging
agreements and any agreements with any entity (including governmental authorities) requiring or
receiving cash collateral or other credit support with proceeds from the DIP Credit Agreement) or
any amendments thereto or waivers thereunder (including, without limitation, any amendments,
waivers or other modifications of any of the DIP Documents) that may be contemplated by, or
required in connection with, the DIP Credit Agreement, the other DIP Documents and the
Financing Transactions, and incur and pay or cause to be paid all fees and expenses and engage
such persons, in each case, as such Authorized Officer shall in his or her judgment determine to
be necessary or appropriate to consummate the transactions contemplated by the DIP Documents,
which determination shall be conclusively evidenced by such Authorized Officer’s execution or
delivery thereof;

        FURTHER RESOLVED, that the Sole Member hereby authorizes and empowers each
Authorized Officer to authorize the DIP Lenders to file any UCC financing statements, mortgages,
notices, and any necessary assignments for security or other documents in the name of the
Company that the DIP Lenders deem necessary or appropriate to perfect any lien or security
interest granted under the DIP Documents, including any such UCC financing statement
containing a generic description of collateral, such as “all assets,” “all property now or hereafter
acquired” and other similar descriptions of like import, and to execute and deliver, and to record
or authorize the recording of, such mortgages and deeds of trust in respect of real property of the
Company and such other filings in respect of intellectual and other property of the Company, in
each case as the DIP Lenders may reasonably request to perfect the security interests granted under
the DIP Documents;

        FURTHER RESOLVED, that the Sole Member hereby authorizes and empowers each
Authorized Officer, in consultation with the Sole Member, to execute and deliver any amendments,
supplements, modifications, renewals, replacements, consolidations, substitutions and extensions
of the DIP Documents or any of the other DIP financing documents, and to execute and file on
behalf of the Company all petitions, schedules, lists and other motions, papers or documents, which
shall in his or her sole judgment be necessary, proper or advisable, which determination shall be
conclusively evidenced by such Authorized Officer’s execution or delivery thereof;

        FURTHER RESOLVED, that in order to use and obtain the benefits of the Cash
Collateral, and in accordance with section 363 of the Bankruptcy Code, the Sole Member hereby
authorizes the Company to provide certain adequate protection to the RBL Secured Parties (the
“Adequate Protection Obligations”), as documented in a proposed interim order (any such order,
the “Interim DIP Order”) and a proposed final order (any such order, the “Final DIP Order”, and
together with the Interim DIP Order, the “DIP Orders”) described to the Sole Member and
submitted for approval to the U.S. Bankruptcy Court;

        FURTHER RESOLVED, that the Sole Member hereby approves the form, terms, and
provisions of the DIP Orders to which the Company is or will be subject, and the actions and
transactions contemplated thereby, and authorizes and empowers each Authorized Officer to take
such actions and negotiate, or cause to be prepared and negotiated, and to execute, deliver, perform,
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and cause the performance of, the DIP Orders and the DIP Documents, incur and pay or cause to
be paid all fees and expenses and engage such persons, in each case, on substantially the terms and
subject to the conditions described to the Sole Member, with such changes, additions, and
modifications thereto as the Authorized Officer executing the same shall approve, such approval
to be conclusively evidenced by such Authorized Officer’s execution or delivery thereof;

       FURTHER RESOLVED, that the Sole Member hereby authorizes the Company, as a
debtor and debtor-in-possession under the Bankruptcy Code, to incur the Adequate Protection
Obligations and to undertake any and all related transactions on substantially the same terms as
contemplated under the DIP Documents (collectively, the “Adequate Protection Transactions”);

         FURTHER RESOLVED, that the Sole Member hereby authorizes and empowers each
Authorized Officer to take such actions as in their discretion is determined to be necessary,
appropriate, or advisable and execute the Adequate Protection Transactions, including delivery of:
(i) the DIP Documents and such agreements, certificates, instruments, guaranties, notices, and any
and all other documents, including, without limitation, any amendments to any DIP Documents
(collectively, the “Adequate Protection Documents”); (ii) such other instruments, certificates,
notices, assignments, and documents as may be reasonably requested by the RBL Secured Parties;
and (iii) such forms of deposit, account control agreements, officer’s certificates, and compliance
certificates as may be required by the DIP Documents or any other Adequate Protection
Documents;

        FURTHER RESOLVED, that the Sole Member hereby authorizes and empowers each
Authorized Officer to take all such further actions, including, without limitation, to pay or approve
the payment of all fees and expenses payable in connection with the Adequate Protection
Transactions and all fees and expenses incurred by or on behalf of the Company in connection
with this written consent, in accordance with the terms of the Adequate Protection Documents,
which shall in their sole judgment be necessary, appropriate, or advisable to perform any of the
Company’s obligations under or in connection with the DIP Orders or any of the other Adequate
Protection Documents and the transactions contemplated thereby and to carry out fully the intent
of this written consent;

Retention of Professionals

       FURTHER RESOLVED, that the Sole Member hereby approves and ratifies the
Company’s engagement of Vinson & Elkins L.L.P. (“V&E”) as general bankruptcy counsel to
represent and assist the Company and ImPetro Operating in carrying out their duties under the
Bankruptcy Code in the U.S. Bankruptcy Court, and to take any and all actions to advance the
Company’s and ImPetro Operating’s respective rights and obligations, including filings and
pleadings, and each Authorized Officer is hereby authorized and empowered to take such actions
as may be required to so engage V&E for such purposes; and in connection therewith, each
Authorized Officer, with power of delegation, is hereby authorized and empowered to execute
appropriate retention agreements, pay appropriate retainers to, and cause to be filed an appropriate
application for authority to retain the services of V&E;

     FURTHER RESOLVED, that the Sole Member hereby approves and ratifies the
Company’s engagement of Barclays Capital, Inc. (“Barclays”) as investment banker and financial
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advisor to represent and assist the Company in carrying out its duties under the Bankruptcy Code
in the U.S. Bankruptcy Court, and to take any and all actions to advance the Company’s rights and
obligations, and each Authorized Officer is hereby authorized and empowered to take such actions
as may be required to so engage Barclays for such purposes; and in connection therewith, each
Authorized Officer, with power of delegation, is hereby authorized and empowered to execute
appropriate retention agreements, pay appropriate retainers to, and cause to be filed an appropriate
application for authority to retain the services of Barclays;

        FURTHER RESOLVED, that the Sole Member hereby approves and ratifies the
Company’s engagement of Opportune LLP (“Opportune”) as operational financial advisor to
represent and assist the Company in carrying out its duties under the Bankruptcy Code in the U.S.
Bankruptcy Court, and to take any and all actions to advance the Company’s rights and obligations,
and each Authorized Officer is hereby authorized and empowered to take such actions as may be
required to so engage Opportune for such purposes; and in connection therewith, each Authorized
Officer, with power of delegation, is hereby authorized and empowered to execute appropriate
retention agreements, pay appropriate retainers to, and cause to be filed an appropriate application
for authority to retain the services of Opportune;

        FURTHER RESOLVED, that the Sole Member hereby approves and ratifies the
Company’s engagement of BDO, USA LLP (“BDO”) as accountants and tax advisors to represent
and assist the Company in carrying out its duties under the Bankruptcy Code in the U.S.
Bankruptcy Court, and to take any and all actions to advance the Company’s rights and obligations,
and each Authorized Officer is hereby authorized and empowered to take such actions as may be
required to so engage BDO for such purposes; and in connection therewith, each Authorized
Officer, with power of delegation, is hereby authorized and empowered to execute appropriate
retention agreements, pay appropriate retainers to, and cause to be filed an appropriate application
for authority to retain the services of BDO;

        FURTHER RESOLVED, that the Sole Member hereby approves and ratifies the
Company’s engagement of Stretto (“Stretto”) as notice, claims and solicitation agent to represent
and assist the Company in carrying out its duties under the Bankruptcy Code in the U.S.
Bankruptcy Court, and to take any and all actions to advance the Company’s rights and obligations,
and each Authorized Officer is hereby authorized and empowered to take such actions as may be
required to so engage Stretto for such purposes; and in connection therewith, each Authorized
Officer, with power of delegation, is hereby authorized and empowered to execute appropriate
retention agreements, pay appropriate retainers to, and cause to be filed an appropriate application
for authority to retain the services of Stretto;

        FURTHER RESOLVED, that each Authorized Officer is hereby authorized and
empowered to employ any other professionals to assist the Company in carrying out its duties
under the Bankruptcy Code; and in connection therewith, each Authorized Officer, with power of
delegation, is hereby authorized and empowered to execute appropriate retention agreements, pay
appropriate retainers and fees, and to cause to be filed an appropriate application for authority to
retain the services of any other professionals as necessary;
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General Authorization

        FURTHER RESOLVED, that each of the Authorized Officer be, and each (acting alone)
hereby is, authorized, empowered and directed, for and on behalf of the Company, to execute and
deliver the agreements approved by these resolutions and all such modifications, amendments,
supplements, extensions and other documents, instruments or certificates thereto or required in
connection therewith in the name and on behalf of the Company, as the Authorized Officer may
deem necessary, advisable or appropriate to effectuate the agreement, the Company's authorization
and approval thereof evidenced by the Authorized Officer's execution and delivery thereof, and to
do and perform all such acts and things and enter into, execute, acknowledge, deliver and file all
such certificates, agreements, acknowledgments, instruments, contracts, statements and other
documents and to take such further actions as they may deem necessary or appropriate to effect
the intent and accomplish the purposes of the foregoing resolutions, with the taking of any such
action by the Authorized Officer being conclusive evidence that the same did meet such standards
as set forth above;

        FURTHER RESOLVED, that the Sole Member hereby authorizes and empowers each
Authorized Officer, on behalf of the Company, to certify and attest to any documents that he or
she may deem necessary, appropriate, or convenient to consummate any transactions necessary to
effectuate the foregoing resolutions; provided, such attestation shall not be required for the validity
of any such documents; and

       FURTHER RESOLVED, that any and all actions taken by an officer, employee or
representative of the Company prior to the date of adoption of the foregoing resolutions, which
would have been authorized by the foregoing resolutions but for the fact that such actions were
taken prior to such date, be, and each hereby is, ratified, approved, confirmed and adopted as a
duly authorized act of the Company in all respects and for all purposes.

                        [The remainder of this page is intentionally blank.]
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    IN WITNESS WHEREOF, the undersigned, being the Sole Member has approved, consented
to and adopted the foregoing resolutions effective as of the date first above written.


                                  SOLE MEMBER:
                                  BRUSHY RESOURCES, INC.



                                  By:
                                        Name:        Joseph C. Daches
                                        Title:       Chief Executive Officer, President & Chief
                                                     Financial Officer




                                Signature Page to Written Consent of
                            the Sole Member of ImPetro Resources, LLC
                                        (Chapter 11 Filing)
                      Case 20-33278 Document 1 Filed in TXSB on 06/29/20 Page 21 of 29

 Fill in this information to identify the case and this filing:


                ImPetro Resources, LLC
 Debtor Name __________________________________________________________________
                                            Southern                           Texas
 United States Bankruptcy Court for the: ________________ District of ________________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                     12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         q    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         q    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         q    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         q    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         q    Schedule H: Codebtors (Official Form 206H)

         q    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

         q    Amended Schedule ____


         q    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         q
         X✔                                                Corporate Resolutions
              Other document that requires a declaration_________________________________________________________________________________

         _


        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on ______________                         û   _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Joseph C. Daches
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Chief Executive Officer, President,
                                                                ______________________________________                and Chief Financial Officer
                                                                Position or relationship to debtor



Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors
Debtor _Lilis Energy, LLC., et al._
                                              Case 20-33278 Document 1 Filed in TXSB on 06/29/20 Page      22 of 29
                                                                                                 Case number (if known)_____________________________________




        Fill in this information to identify the case:
        Debtor name: Lilis Energy, Inc., et al.,
        United States Bankruptcy Court for the Southern District of Texas
                                                                                                                                                                     ¨ Check if this is an amended
        Case number (If known): ______________
                                                                                                                                                                       filing

        Official Form 204
        Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 50 Largest Unsecured Claims and Are
        Not Insiders                                                                          12/15

        A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity
        who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among
        the holders of the 50 largest unsecured claims.
          Name of creditor and complete mailing address,                    Name, telephone number, and email           Nature of the claim       Indicate if claim is   Amount of unsecured claim
                         including zip code                                    address of creditor contact              (for example, trade          contingent,         if the claim is fully unsecured, fill in only unsecured claim
                                                                                                                        debts, bank loans,         unliquidated, or      amount. If claim is partially secured, fill in total claim amount
                                                                                                                       professional services,          disputed          and deduction for value of collateral or setoff to calculate
                                                                                                                          and government                                 unsecured claim
                                                                                                                              contracts)                                     Total claim, if        Deduction for          Unsecured claim
                                                                                                                                                                           partially secured value of collateral
                                                                                                                                                                                                       or setoff
        ELITE WELL SERVICES, LLC
        ATTN: JEFF JORDAN
                                                                            JEFF JORDAN
        PRESIDENT
      1                                                                     EMAIL -                                    Trade                                                                                          $           2,839,174
        2702 NORTH FREEMAN AVE.
                                                                            PHONE - 575-736-4411
        ARTESIA, NM 88210

        WAR HORSE RESOURCES, LLC
        ATTN: DANNY FORD
        OWNER                                                               DANNY FORD
      2 3030 NW EXPRESSWAY                                                  EMAIL - dford@warhorseresources.com        Trade                                                                                          $           1,985,994
        STE 200 B                                                           PHONE - 405-239-0923
        OKLAHOMA CITY, OK 73112

        HELMERICH & PAYNE INTERNATIONAL DRILLING
        ATTN: JOHN W. LINDSAY
                                                                            JOHN W. LINDSAY
        PRESIDENT
      3                                                                     EMAIL - accountmanagement@hpidc.com        Trade                                                                                          $           1,393,463
        1437 SOUTH BOULDER AVE
                                                                            PHONE - 918-742-5531
        TULSA, OK 74119

        FESCO, LTD.
        ATTN: STEVE FINDLEY
                                                                            STEVE FINDLEY
        PRESIDENT
      4                                                                     EMAIL -                                    Trade                                                                                          $             761,198
        1000 FESCO AVE.
                                                                            PHONE - 361-667-7000
        ALICE, TX 78332

        ZEALOUS ENERGY SERVICES, LLC
        ATTN: KENNETH DOC LEBLANC
                                                                            KENNETH DOC LEBLANC
        PRESIDENT
      5                                                                     EMAIL -                                    Trade                                                                                          $             660,421
        899 REES ST
                                                                            PHONE - 337-332-4390
        BREAUX BRIDGE, LA 70517

        QES WIRELINE LLC
        ATTN: CHRISTOPHER J. BAKER
        PRESIDENT                                                           CHRISTOPHER J. BAKER
      6 1415 LOUISIANA                                                      EMAIL - info@qesinc.com                    Trade                                                                                          $             639,874
        STE. 2900                                                           PHONE - 832-518-4094
        HOUSTON, TX 77002

        APPLIED US ENERGY INC.
        ATTN: JIM JEFFIERS
                                                                            JIM JEFFIERS
        VICE PRESIDENT
      7                                                                     EMAIL - jjeffiers@applied.com              Trade                                                                                          $             613,184
        22510 NETWORK PLACE
                                                                            PHONE - 877-279-2799
        CHICAGO, IL 60673-1225


        B&L PIPECO SERVICES, INC
        ATTN: STEVE TAIT
        PRESIDENT                                                           STEVE TAIT
      8 20465 SH                                                            EMAIL -                                    Trade                                                                                          $             575,272
        STE 200                                                             PHONE - 281-955-3500
        HOUSTON, TX 77070


        CULBERSON CONSTRUCTION LLC
        ATTN: BRAD CULBERSON
                                                                            BRAD CULBERSON
        PRESIDENT
      9                                                                     EMAIL -                                    Trade                                                                                          $             546,765
        4500 COLONY RD
                                                                            PHONE - 817-573-3079
        GRANBURY, TX 76048

       KD TRUCKING, LLC
       ATTN: BALDO NEVAREZ
                                                                            BALDO NEVAREZ
       OWNER
    10                                                                      EMAIL - kdtruckingllc@gmail.com            Trade                                                                                          $             538,339
       7424 FM 52
                                                                            PHONE - 940-229-0290
       PERRIN, TX 76486

       SCM WATER, LLC
       ATTN: JOHN POARCH
                                                                            JOHN POARCH
       PRESIDENT
    11                                                                      EMAIL -                                    Trade                                                                                          $             487,328
       20329 STATE HIGHWAY 249, FIR 4
                                                                            PHONE - 281-655-3200
       HOUSTON, TX 77070



Official Form 204                                                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                                                              page 1
Debtor _Lilis Energy, LLC., et al._
                                      Case 20-33278 Document 1 Filed in TXSB on 06/29/20 Page      23 of 29
                                                                                         Case number (if known)_____________________________________




         Name of creditor and complete mailing address,   Name, telephone number, and email            Nature of the claim       Indicate if claim is   Amount of unsecured claim
                        including zip code                   address of creditor contact               (for example, trade          contingent,         if the claim is fully unsecured, fill in only unsecured claim
                                                                                                       debts, bank loans,         unliquidated, or      amount. If claim is partially secured, fill in total claim amount
                                                                                                      professional services,          disputed          and deduction for value of collateral or setoff to calculate
                                                                                                         and government                                 unsecured claim
                                                                                                             contracts)                                     Total claim, if        Deduction for          Unsecured claim
                                                                                                                                                          partially secured value of collateral
                                                                                                                                                                                      or setoff
       EVENT SOLUTIONS OF LOUISIANA, LLC
       ATTN: FRANK GERAMI
                                                          FRANK GERAMI
       PRESIDENT
    12                                                    EMAIL -                                     Trade                                                                                          $             443,905
       1701 W. WILLOW STREET
                                                          PHONE - 337-261-3378
       LAFAYETTE, LA 70583

       ALLSTATES PRODUCTION EQUIPMENT CO, LLC
       ATTN: J. SCOT LEE
                                                          J. SCOT LEE
       PRESIDENT
    13                                                    EMAIL - allstates@coxinet.net               Trade                                                                                          $             413,051
       1217 SE 29TH STREET
                                                          PHONE - 405-672-2323
       OKLAHOMA CITY, OK 73143

       CLEARPOINT CHEMICALS, LLC
       ATTN: HARLAN FOSTER
       CEO                                                HARLAN FOSTER
    14 18300 SCENIC HIGHWAY 98                            EMAIL -                                     Trade                                                                                          $             400,000
       SUITE F                                            PHONE - 251-990-7311
       FAIRHOPE, AL 36532

       PHOENIX TECHNOLOGY SERVICES USA INC.
       ATTN: MIKE BUKER
                                                          MIKE BUKER
       PRESIDENT
    15                                                    EMAIL -                                     Trade                                                                                          $             368,261
       12329 CUTTEN ROAD
                                                          PHONE - 713-337-0600
       HOUSTON, TX 77066

       WEST TEXAS WATER WELL SERVICE
       ATTN: RUSSELL SOUTHERLAND
                                                          RUSSELL SOUTHERLAND
       PRESIDENT
    16                                                    EMAIL - russell@wtwws.com                   Trade                                                                                          $             338,173
       3410 MANKINS AVE
                                                          PHONE - 432-556-6621
       ODESSA, TX 79764

       NEWPARK DRILLING FLUIDS LLC
       ATTN: GREGG S. PIONTEK
       SVP & CFO                                          GREGG S. PIONTEK
    17 9320 LAKESIDE BLVD.                                EMAIL - gpiontek@newpark.com                Trade                                                                                          $             321,434
       SUITE 100                                          PHONE - 281-754-8600
       THE WOODLANDS, TX 77381

       BAKER HUGHES OILFIELD OPERATIONS
       ATTN: LORENZO SIMONELLI                            LORENZO SIMONELLI
       CEO                                                EMAIL -
    18                                                                                                Trade                                                                                          $             275,632
       2929 ALLEN PARKWAY                                 LORENZO.SIMONELLI@bakerhughes.com
       HOUSTON, TX 77019                                  PHONE -

       PLATINUM PIPE RENTALS, LLC
       ATTN: LARRY NUNEZ
                                                          LARRY NUNEZ
       VICE PRESIDENT
    19                                                    EMAIL -                                     Trade                                                                                          $             257,890
       2580 HIGHWAY 385 SOUTH
                                                          PHONE - 432-337-1111
       ODESSA, TX 79766

       BRONCO OILFIELD SERVICES
       ATTN: MARK DEGARMO
                                                          MARK DEGARMO
       VICE PRESIDENT
    20                                                    EMAIL - mdegarmo@broncoservices.com         Trade                                                                                          $             251,750
       4001 W. 7TH STREET
                                                          PHONE - 337-359-9960
       ELK CITY, OK 73644

       PETROSTAR SERVICES, LLC
       ATTN: JIM BROWN
                                                          JIM BROWN
       CEO
    21                                                    EMAIL -                                     Trade                                                                                          $             246,049
       4350 LOCKHILL SELMA RD SUITE 150
                                                          PHONE - 210-463-9929
       SAN ANTONIO, TX 78249

       HAMMER DOWN OILFIELD SERVICES, LLC
       ATTN: GLEN SHEPARD
                                                          GLEN SHEPARD
       PRESIDENT
    22                                                    EMAIL -                                     Trade                                                                                          $             229,859
       1136 N. KIRKWOOD
                                                          PHONE - 281-870-9182
       HOUSTON, TX 77043

       BUTCHS RAT HOLE & ANCHOR SERVICE INC
       ATTN: SCOTT BRYANT
                                                          SCOTT BRYANT
       PRESIDENT
    23                                                    EMAIL -                                     Trade                                                                                          $             225,130
       700 AUSTIN STREET
                                                          PHONE - 806-894-6294
       LEVELLAND, TX 79336

       5J OILFIELD SERVICES, LLC
       ATTN: TONY CASHION
                                                          TONY CASHION
       VICE PRESIDENT OF BUSINESS DEVELOPMENT
    24                                                    EMAIL -                                     Trade                                                                                          $             224,500
       4090 N. US HWY. 79
                                                          PHONE - 903-729-0969
       PALESTINE, TX 75801

       RIGUP INC
       ATTN: XUAN YONG
       CEO                                                XUAN YONG
    25 111 CONGRESS AVE                                   EMAIL -                                     Trade                                                                                          $             222,070
       SUITE 900                                          PHONE - 512-501-5452
       AUSTIN, TX 78701




Official Form 204                                               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                                                               page 2
Debtor _Lilis Energy, LLC., et al._
                                      Case 20-33278 Document 1 Filed in TXSB on 06/29/20 Page      24 of 29
                                                                                         Case number (if known)_____________________________________




         Name of creditor and complete mailing address,   Name, telephone number, and email              Nature of the claim     Indicate if claim is   Amount of unsecured claim
                        including zip code                   address of creditor contact                 (for example, trade        contingent,         if the claim is fully unsecured, fill in only unsecured claim
                                                                                                         debts, bank loans,       unliquidated, or      amount. If claim is partially secured, fill in total claim amount
                                                                                                        professional services,        disputed          and deduction for value of collateral or setoff to calculate
                                                                                                           and government                               unsecured claim
                                                                                                               contracts)                                   Total claim, if        Deduction for          Unsecured claim
                                                                                                                                                          partially secured value of collateral
                                                                                                                                                                                      or setoff
       GR LIFT LP
       ATTN: WAYNE RICHARDS
       PRESIDENT                                          WAYNE RICHARDS
    26 2150 TOWN SQUARE PL                                EMAIL -                                       Trade                                                                                        $             210,583
       STE 410                                            PHONE - 281-201-6812
       SUGAR LAND, TX 77479

       4-STAR TANK RENTAL LP
       ATTN: TODD ETHRIDGE
                                                          TODD ETHRIDGE
       CEO
    27                                                    EMAIL - todd.ethridge@4startankrental.com     Trade                                                                                        $             208,275
       657 E HIGHWAY 115
                                                          PHONE - 432-586-3111
       KERMIT, TX 79745

       A.C.T. EQUIPMENT COMPANY LLC
       ATTN: DONALD A. SPURLOCK
                                                          DONALD A. SPURLOCK
       PRESIDENT
    28                                                    EMAIL - donald@actequipmentllc.com            Trade                                                                                        $             206,043
       304 NW MUSTANG DR
                                                          PHONE - 432-523-4184
       ANDREWS, TX 79714


       IMPERATIVE CHEMICAL PARTNERS, INC.
       ATTN: BRANDON MARTIN
       SVP OF STRATEGIC ACCOUNTS                          BRANDON MARTIN
    29 201 W. WALL STREET                                 EMAIL -                                       Trade                                                                                        $             204,141
       SUITE 900                                          PHONE - 877-523-3147
       MIDLAND, TX 79701


       SELECT ENERGY SERVICES
       ATTN: HOLLI LADHANI
       CEO                                                HOLLI LADHANI
    30 1233 WEST LOOP SOUTH                               EMAIL -                                       Trade                                                                                        $             200,816
       SUITE 1400                                         PHONE - 713-235-9500
       HOUSTON, TX 77027

       MARSZ SAFETY, LLC
       ATTN: SEAN FARNSWORTH
                                                          SEAN FARNSWORTH
       OWNER
    31                                                    EMAIL -                                       Trade                                                                                        $             199,460
       415 GREENWICH BLVD
                                                          PHONE - 210-560-6705
       SAN ANTONIO, TX 78209

       FLEX LEASING POWER & SERVICES LLC
       ATTN: MARK G. SCHNEPEL
                                                          MARK G. SCHNEPEL
       CEO
    32                                                    EMAIL -                                       Trade                                                                                        $             191,453
       6400 S FIDDLERS GREEN CIRCLE SUITE 900
                                                          PHONE - 720-573-7664
       GREENWOOD VILLAGE, CO 80111

       BELL SUPPLY COMPANY, LLC
       ATTN: BOB HUBER
                                                          BOB HUBER
       VICE PRESIDENT - OPERATIONS
    33                                                    EMAIL - bhuber@bellsupplystores.com           Trade                                                                                        $             177,036
       3314 E HWY 82
                                                          PHONE - 940-665-1486
       GAINESVILLE, TX 76240

       BLACK STAR ENERGY SERVICES, LLC
       ATTN: KEVIN BLACKWOOD                              KEVIN BLACKWOOD
       PRESIDENT                                          EMAIL -
    34                                                                                                  Trade                                                                                        $             173,759
       12401 WCR 100                                      kevin.blackwood@blackstarenergyservices.com
       ODESSA, TX 79765                                   PHONE - 432-272-3395


       BASIC ENERGY SERVICES, L.P
       ATTN: KEITH L. SCHILLING
       CEO                                                KEITH L. SCHILLING
    35 801 CHERRY STREET                                  EMAIL -                                       Trade                                                                                        $             171,115
       SUITE 2100                                         PHONE - 830-334-4010
       FORT WORTH, TX 76102


       BELCO MANUFACTURING CO., INC.
       ATTN: RICK RAMIREZ
                                                          RICK RAMIREZ
       OPERATIONS MANAGER
    36                                                    EMAIL -                                       Trade                                                                                        $             165,352
       2303 TAYLORS VALLEY ROAD
                                                          PHONE - 254-933-9000
       BELTON, TX 76513-0210

       THE WELLBOSS COMPANY, LLC
       ATTN: JEFF MCNAMARA
                                                          JEFF MCNAMARA
       PRESIDENT
    37                                                    EMAIL -                                       Trade                                                                                        $             162,418
       12450 CUTTON RD.
                                                          PHONE - 281-820-2545
       HOUSTON, TX 77066

       FNG CONSTRUCTION, INC
       ATTN: COURTNEY SETTLE
                                                          COURTNEY SETTLE
       PRESIDENT
    38                                                    EMAIL - contact@fngconstructioninc.com        Trade                                                                                        $             157,217
       1816 6TH AVE
                                                          PHONE - 432-232-3766
       FORT WORTH, TX 76110




Official Form 204                                               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                                                              page 3
Debtor _Lilis Energy, LLC., et al._
                                      Case 20-33278 Document 1 Filed in TXSB on 06/29/20 Page      25 of 29
                                                                                         Case number (if known)_____________________________________




         Name of creditor and complete mailing address,   Name, telephone number, and email            Nature of the claim       Indicate if claim is   Amount of unsecured claim
                        including zip code                   address of creditor contact               (for example, trade          contingent,         if the claim is fully unsecured, fill in only unsecured claim
                                                                                                       debts, bank loans,         unliquidated, or      amount. If claim is partially secured, fill in total claim amount
                                                                                                      professional services,          disputed          and deduction for value of collateral or setoff to calculate
                                                                                                         and government                                 unsecured claim
                                                                                                             contracts)                                     Total claim, if        Deduction for          Unsecured claim
                                                                                                                                                          partially secured value of collateral
                                                                                                                                                                                      or setoff
       PLATINUM OILFIELD SERVICES LLC
       ATTN: MIKE SANCHEZ
                                                          MIKE SANCHEZ
       OWNER
    39                                                    EMAIL -                                     Trade                                                                                          $             153,930
       109 W BROADWAY ST
                                                          PHONE - 432-634-0180
       ANDREWS, TX 79714

       TALL CITY WELL SERVICE CO,. LP
       ATTN: ROBERT ACUNA
                                                          ROBERT ACUNA
       SAFTEY MANAGER
    40                                                    EMAIL - robert.acuna@tcws.com               Trade                                                                                          $             143,121
       6001 S HWY 385
                                                          PHONE - 432-332-8863
       ODESSA, TX 79766

       PORTER HEDGES LLP
       ATTN: ROBERT G. REEDY
       MANAGING PARTNER                                   ROBERT G. REEDY
    41 1000 MAIN STREET                                   EMAIL - rreedy@porterhedges.com             Trade                                                                                          $             138,032
       36TH FLOOR                                         PHONE - 713-226-6674
       HOUSTON, TX 77002


       VERDAD OIL & GAS CORPORATION
       ATTN: WILL BEECHERL
       CEO                                                WILL BEECHERL
    42 5950 SHERRY LANE                                   EMAIL -                                     Trade                                                                                          $             133,171
       SUITE 700                                          PHONE - 214-838-3000
       DALLAS, TX 75225

       ONYX CONTRACTORS OPERATIONS, LP
       ATTN: CHRISTI BROWN
                                                          CHRISTI BROWN
       CFO
    43                                                    EMAIL - christi@onyxcontractors.com         Trade                                                                                          $             121,965
       1010 FM 1788
                                                          PHONE - 432-561-8900
       MIDLAND, TX 79706

       JOHNSON SPECIALTY TOOLS, LLC
       ATTN: CRAIG JOHNSON
                                                          CRAIG JOHNSON
       FOUNDER
    44                                                    EMAIL -                                     Trade                                                                                          $             120,111
       11208 WEST COUNTY RD. 46
                                                          PHONE - 432-618-121
       MIDLAND, TX 79707

       WELLFIRST TECHNOLOGIES, INC.
       ATTN: DEREK MARTIN
                                                          DEREK MARTIN
       DISTRICT MANAGER
    45                                                    EMAIL - dmartin@wellfirst.com               Trade                                                                                          $             113,718
       2209 E LOOP 281
                                                          PHONE - 361-813-8504
       LONGVIEW, TX 75605

       NATIONAL OILWELL DHT, L.P.
       ATTN: CLAY WILLIAMS
                                                          CLAY WILLIAMS
       CEO
    46                                                    EMAIL -                                     Trade                                                                                          $             113,054
       7909 PARKWOOD CIRCLE DRIVE
                                                          PHONE - 713-375-3700
       HOUSTON, TX 77036

       RWLS. LLC
       ATTN: MATT GRAY
                                                          MATT GRAY
       PRESIDENT
    47                                                    EMAIL - mgray468@aol.com                    Trade                                                                                          $             110,695
       1302 HOUSTON ST
                                                          PHONE - 806-897-0735
       LEVELLAND, TX 79336

       GRYPHON OILFIELD SOLUTIONS, LLC
       ATTN: ANDY EASTON
                                                          ANDY EASTON
       PRESIDENT
    48                                                    EMAIL -                                     Trade                                                                                          $             104,968
       11300 WINDFERN ROAD
                                                          PHONE - 281-738-3110
       HOUSTON, TX 77064

       SES HOLDINGS, LLC
       ATTN: PAT ANDERLE
                                                          PAT ANDERLE
       PRESIDENT
    49                                                    EMAIL - panderle@peakoilservices.com        Trade                                                                                          $              99,907
       1002 CARPENTER ST
                                                          PHONE - 940-683-1600
       BRIDGEPORT, TX 76426


       HEMMEN ASSOCIATES, INC.
       ATTN: JAMES HAZELBUSH
                                                          JAMES HAZELBUSH
       ENGINEER
    50                                                    EMAIL - jamesh@hpumpsystems.com             Trade                                                                                          $              96,815
       5375 E LOOP 281
                                                          PHONE - 970-629-1738
       LONGVIEW, TX 75602




Official Form 204                                               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                                                              page 4
                      Case 20-33278 Document 1 Filed in TXSB on 06/29/20 Page 26 of 29

 Fill in this information to identify the case and this filing:


                ImPetro Resources, LLC
 Debtor Name __________________________________________________________________
                                            Southern                           Texas
 United States Bankruptcy Court for the: ________________ District of ________________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                     12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         q    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         q    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         q    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         q    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         q    Schedule H: Codebtors (Official Form 206H)

         q    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

         q    Amended Schedule ____


         q
         X
         ✔    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         q    Other document that requires a declaration_________________________________________________________________________________

         _


        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on ______________                         û   _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Joseph C. Daches
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Chief Executive Officer, President,
                                                                ______________________________________                and Chief Financial Officer
                                                                Position or relationship to debtor



Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors
          Case 20-33278 Document 1 Filed in TXSB on 06/29/20 Page 27 of 29




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

    In re:                                                     §         Case No. 20-[●]
                                                               §
    IMPETRO RESOURCES, LLC,                                    §         (Chapter 11)
                                                               §
                                                               §         (Joint Administration Requested)
             Debtor.                                           §         (Emergency Hearing Requested)



                              LIST OF EQUITY SECURITY HOLDERS1

         Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the following

identifies all holders having a direct or indirect ownership interest of the above captioned debtor

in possession (the “Debtor”).

     Name and Last Known Address or Place of                         Kind/Class of              Percentage of
               Business of Holder                                      Interest                 Interests Held
                 Brushy Resources, Inc.                                 Common                       100%




1
     This list serves as the required disclosure by the Debtor pursuant to Rule 1007 of the Federal Rules of Bankruptcy
     Procedure. All equity positions listed are as of the date of commencement of the chapter 11 cases.

                                                           1
                 Case 20-33278 Document 1 Filed in TXSB on 06/29/20 Page 28 of 29




                   CORPORATE OWNERSHIP STATEMENT (RULES 1007 (a)(1) and 7007.1)

Pursuant to Federal Rules of Bankruptcy Procedure 1007 (a)(1) and 7007.1, the following is a (are) corporation(s), other
than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of the corporation's(s')
equity interests:

                   Debtor               Corporate Equity          Address of Corporate Equity        Percentage of
                                           Holder(s)                       Holder(s)                  Equity Held
         ImPetro Resources, LLC       Brushy Resources, Inc. 201 Main Street, Suite 700, Fort           100%
                                                                  Worth, Texas 76102
                      Case 20-33278 Document 1 Filed in TXSB on 06/29/20 Page 29 of 29

 Fill in this information to identify the case and this filing:


                ImPetro Resources, LLC
 Debtor Name __________________________________________________________________
                                            Southern                           Texas
 United States Bankruptcy Court for the: ________________ District of ________________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                     12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
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1519, and 3571.



             Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         q    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         q    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         q    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         q    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         q    Schedule H: Codebtors (Official Form 206H)

         q    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

         q    Amended Schedule ____


         q    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         q
         ✔                                                 List of Equity Security Holders and Corporate Ownership Statements
              Other document that requires a declaration_________________________________________________________________________________

         _


        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on ______________                         û   _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Joseph C. Daches
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Chief Executive Officer, President,
                                                                ______________________________________                and Chief Financial Officer
                                                                Position or relationship to debtor



Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors
